Case 2:15-cr-20652-GCS-DRG ECF No. 1414 filed 05/09/19   PageID.18570   Page 1 of 62
                                                                              1



    1                       UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
    2                             SOUTHERN DIVISION
    3
    4     UNITED STATES OF AMERICA,
    5                      Government,
                                                  HONORABLE GEORGE CARAM STEEH
    6           v.
                                                  No. 15-20652
    7     D-3 EUGENE FISHER,
          D-4 COREY BAILEY,
    8     D-6 ROBERT BROWN,
          D-10 DEVON PATTERSON,
    9     D-13 ARLANDIS SHY,
          D-19 KEITHON PORTER,
   10
                         Defendants.
   11     _____________________________/
   12                               MOTION HEARING
   13                           Monday, June 18, 2018
   14                                  -    -    -
   15     APPEARANCES:
   16     For the Government:                   JULIE FINOCCHIARO, ESQ.
                                                MARGARET SMITH, ESQ.
   17                                           WILLIAM SLOAN, ESQ.
                                                MARK BILKOVIC,ESQ.
   18                                           Assistant U.S. Attorneys
   19
          For the Defendants:                   HENRY M. SCHARG, ESQ.
   20                                           On behalf of Eugene Fisher
   21                                           CRAIG DALY, ESQ.
                                                KEITH SPIELFOGEL, ESQ.
   22                                           On behalf of Corey Bailey
   23                                           JAMES FEINBERG, ESQ.
                                                On behalf of Robert Brown
   24
                                                BERTRAM JOHNSON, ESQ.
   25                                           On behalf of Devon Patterson
Case 2:15-cr-20652-GCS-DRG ECF No. 1414 filed 05/09/19   PageID.18571   Page 2 of 62
                                                                              2



    1                                           MARK MAGIDSON, ESQ.
                                                JOHN THEIS, ESQ.
    2                                           On behalf of Arlandis Shy
    3                                           STEVEN SCHARG, ESQ.
                                                On behalf of Keithon Porter
    4
    5
                                       -    -    -
    6
    7                To Obtain Certified Transcript, Contact:
                 Ronald A. DiBartolomeo, Official Court Reporter
    8                 Theodore Levin United States Courthouse
                      231 West Lafayette Boulevard, Room 1067
    9                        Detroit, Michigan 48226
                                   (313) 962-1234
   10
                 Proceedings recorded by mechanical stenography.
   11         Transcript produced by computer-aided transcription.
   12
   13
   14
   15
   16
   17
   18
   19
   20
   21
   22
   23
   24
   25
Case 2:15-cr-20652-GCS-DRG ECF No. 1414 filed 05/09/19    PageID.18572   Page 3 of 62
                                                                               3



    1                                 I   N   D   E   X
    2     _________________________________________________________Page
    3     Motion hearing                                                           4
    4
    5
    6
    7
    8
    9
   10
   11
   12
   13
   14                             E   X   H   B   I   T   S
   15     Identification__________________________Offered                Received
   16
   17                             N       O       N       E
   18
   19
   20
   21
   22
   23
   24
   25


                       15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1414 filed 05/09/19    PageID.18573   Page 4 of 62
                                                                                4



    1                                         Detroit, Michigan
    2                                         Monday, June 18, 2018
    3
    4                                   -     -     -
    5                      THE CLERK:       Case Number 15-2O652 United
    6       States versus Billy Arnold et al.
    7                      THE COURT:       Good morning.   Okay.   So we had a
    8       couple of developments that needs to be addressed, and how
    9       would you like to proceed?
   10                      MR. H. SCHARG:         Should we put appearances on
   11       the record?
   12                      THE COURT:       Yes.
   13                      MR. H. SCHARG:         Henry Scharg on behalf of
   14       Eugene Fisher.     Well, women first.
   15                      MS. SMITH:       Thank you, your Honor.       Good
   16       morning.    Maggie Smith, Julie Finocchiaro, Billy Sloan and
   17       Mark Bilkovic for the United States.
   18                      THE COURT:       Good morning.
   19                      MR. H. SCHARG:         Government first, right?
   20                      MS. SMITH:       Either way.
   21                      MR. H. SCHARG:         Henry Scharg on behalf of
   22       Eugene Fisher.
   23                      MR. JOHNSON:      Good morning, your Honor.          If
   24       it please the Court, Bertram Johnson on behalf of Devon
   25       Patterson.


                       15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1414 filed 05/09/19   PageID.18574   Page 5 of 62
                                                                              5



    1                      THE COURT:    Good morning.
    2                      MR. DALY:    Good morning.     Craig Daly on
    3       behalf of Corey Bailey.
    4                      THE COURT:    Welcome.
    5                      MR. SPIELFOGEL:      Also Keith Spielfogel for
    6       Mr. Bailey.
    7                      THE COURT:    Welcome.
    8                      MR. FEINBERG:     James L. Feinberg, attorney
    9       for Robert Brown, II.
   10                      THE COURT:    Good morning.
   11                      MR. THEIS:    Good morning, your Honor.        John
   12       Theis, one of the attorneys for Arlandis Shy.
   13                      MR. MAGIDSON:     Good morning, your Honor.
   14       Mark Magidson on behalf of Arlandis Shy.
   15                      MR. S. SCHARG:     Good morning.     Steven Scharg
   16       on behalf of Mr. Porter.
   17                      THE COURT:    Welcome.
   18                      MR. H. SCHARG:     Can I say something before we
   19       start?
   20                      THE COURT:    Yes.
   21                      MR. H. SCHARG:     Thank you.     We had a pretrial
   22       last week, pretrial motions, and I made a motion for
   23       severance, and I have -- I respect the Court's ruling, but
   24       what's been festering me all week was that the Court made
   25       a reference to an in camera or in chambers discussion that


                       15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1414 filed 05/09/19   PageID.18575   Page 6 of 62
                                                                              6



    1       we had --
    2                      THE COURT:    Right.
    3                      MR. H. SCHARG:     -- where the Court said that
    4       Mr. Scharg was given the opportunity to ask for a
    5       severance, and that I denied or rejected that, and it kind
    6       of put us in opposition in terms of your recollection of
    7       the meeting the conference and what I told the Court, and
    8       inferred that maybe I was misleading the Court or I was
    9       dishonest with the Court, but I just want to clarify one
   10       thing.
   11                It wasn't me that was directed to.         It was Mr.
   12       Feinberg who was asked whether he wanted a severance,
   13       because if the Court remembers, Mr. Feinberg's learned
   14       counsel had to step down because of health reasons, and
   15       the Court asked Mr. Feinberg whether Mr. Feinberg wanted
   16       want a severance.     Never, ever did I tell the Court that I
   17       didn't want one.
   18                I don't think it has any impact and it didn't have
   19       an impact on the Court's decision, but it had an impact on
   20       my credibility with this Court, and I just wanted to
   21       clarify that because it didn't happen that way the Court
   22       recollected.    Obviously, it has no impact on the Court's
   23       decision to deny my motion, but I didn't want the Court to
   24       believe in any way that I would at any point in time say
   25       something to the Court to mislead the Court or be not


                        15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1414 filed 05/09/19   PageID.18576   Page 7 of 62
                                                                              7



    1       true.
    2                      THE COURT:    I never thought you did.        So I
    3       accept your version, in fact, of the conversation, and
    4       it's quite possible that I was thinking you when I
    5       addressed a question to Mr. Feinberg.
    6                      MR. H. SCHARG:     I understand how you can get
    7       Mr. Feinberg and I confused.       We definitely look alike.
    8                      THE COURT:    I think the major point was that
    9       I was inviting people to ask if they were interested in
   10       severance, and the only one that I heard from was Mr.
   11       Swor.
   12                      MR. H. SCHARG:     And again, my recollection at
   13       that point in time, I also did not directly demand, but I
   14       have made my position known, but the issue was whether I
   15       specifically said I didn't want a severance, and that was
   16       Mr. Feinberg and not myself.
   17                      THE COURT:    Right.   Thank you.
   18                      MR. JOHNSON:     Judge, if I may quickly with
   19       respect to that status conference?
   20                For the record I would like to indicate that this
   21       Court did ask a number of us.       You, in fact, asked me, and
   22       I responded in the waiver of my client being present in
   23       the status conference, and me moving forward with that
   24       answer I said no, I could not accept it, and I just want
   25       to make that for the record.       Even if I felt that


                       15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1414 filed 05/09/19   PageID.18577   Page 8 of 62
                                                                              8



    1       severance might have been a reasonable position to take
    2       legally, my client informed me that he would not want to
    3       put that trial date back.
    4                Again, I want to also address the renewal of
    5       myself severance motions with the motions that have come
    6       into being over the last few days, motion in limine.
    7                Again, for the record, I may believe that my
    8       client should be severed from this group for reasons
    9       stated that you will hear, but again, for the record,
   10       since we're talking about severance, I want to make it
   11       clear that my client, again, has instructed me under no
   12       reason -- under no certain terms that does he want to have
   13       his date moved.
   14                      THE COURT:    Okay.   Thank you, Mr. Johnson.
   15                All right.    So which of the new issues do we wish
   16       to address first, and who's going to --
   17                      MS. SMITH:    Well, your Honor, I believe they
   18       are defense motions.      So as I understand it, what's up
   19       today has to do with the motion regarding the lineup.             I
   20       think it's Robert Brown's motion, Number 1061, and then
   21       the other motion is Number 1063, which is defendant Shy's
   22       motion in limine to preclude Corey Bailey's video recorded
   23       statements.    So whatever one the Court wants to hear
   24       first, it is the defense motion.
   25                      THE COURT:    Why don't we do the lineup


                       15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1414 filed 05/09/19    PageID.18578   Page 9 of 62
                                                                               9



    1       question first.     Who will be addressing that?        Mr.
    2       Feinberg?
    3                      MR. FEINBERG:     Good morning, your Honor.
    4                      THE COURT:    Good morning.
    5                      MR. FEINBERG:     Last week I received a
    6       notification, a telephonic notification that a new witness
    7       against Mr. Brown was going to be offered.           The following
    8       day I received a report that is attached to the
    9       government's response.      I then filed the motion to
   10       suppress the photographic lineup identification by Jesse
   11       Gaskin, or in the alternative conduct an evidentiary
   12       hearing.    I submitted the motion in brief, cited facts and
   13       law, but what I want to highlight is the various court's
   14       rulings as to identification and photo.
   15                In 20O6, Mr. Gaskin's name was in a police report
   16       taken at the time of the shooting.           His name has been in
   17       the report for 12 years.
   18                On the 13th of June of this year is when the
   19       investigators in this case decided to reinterview some of
   20       the names that were in the report.           One witness was
   21       interviewed in May.      Mr. Gaskin was interviewed in June.
   22       Mr. Brown was in custody.       The government wanted to show a
   23       photographic array to Mr. Brown.
   24                First and foremost, because Mr. Brown was in
   25       custody and he had counsel, the proper procedure would


                        15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1414 filed 05/09/19   PageID.18579   Page 10 of
                                      62
                                                                           10



   1       have been to have a live lineup with his attorney present.
   2       That was not done.      That was the choice of the government.
   3       The government chose to interview Mr. Gaskin and show him
   4       six photos.
   5                 Now Mr. Gaskin 12 years prior, again, was not
   6       interviewed, and gave no identification because he was not
   7       questioned.    We don't know from the report --
   8                      THE COURT:    So how do we know from that --
   9       from that report is that he was present --
  10                      MR. FEINBERG:     Correct.
  11                      THE COURT:    -- at the time of the incident?
  12                      MR. FEINBERG:     Correct.
  13                      THE COURT:    No details were elicited at that
  14       time?
  15                      MR. FEINBERG:     None.   So last week the
  16       identification that Mr. Gaskin gave of the shooter was --
  17       that the decease was dark skin, black man, and that the
  18       shooter was a lighter skin black man, clean cut, gave some
  19       kind of description of the clothing.
  20                      THE COURT:    Specific description, right?         I
  21       mean, white T-shirt, black pants or --
  22                      MR. DALY:    Right, but he indicated in the
  23       report that he was not 100 percent sure of the clothing
  24       because of the amount of time that went by.
  25                 The proper procedure of a photographic array is to


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1414 filed 05/09/19   PageID.18580   Page 11 of
                                      62
                                                                           11



   1       have a blind photo array.       That means the people
   2       presenting the array did not know who the suspect was, and
   3       this is for obvious reasons, because the Court has ruled
   4       that it's possible to inadvertence that the agents who
   5       knew who the defendant was and who was the target, could
   6       have indicated some kind of idea to the witness who the
   7       person was that they were targeting.          That's why the blind
   8       array is done.     Blind, meaning that the person or persons
   9       who are presenting the photo array have no idea who the
  10       suspect is.
  11                 Further, even though it was done sequentially,
  12       meaning that it wasn't all six photos in one piece of
  13       paper, each photo was shown separately, but the proper
  14       procedure is not to have one photo array, but to have
  15       multiple photo arrays where the first group, second group,
  16       third group all have different photos, and that the
  17       suspect is not in two of the three, but is in only one.
  18       That was not done in this particular case.
  19                 Also, because of modern technology, witnesses are
  20       often, if not preferred, to be videoed interview, so that
  21       we know -- and also the photo array is videoed -- we know
  22       whether or not there is any impropriety either
  23       intentionally or unintentional.
  24                 We don't know whether or not that was done because
  25       the government who has vast technology at their fingertips


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1414 filed 05/09/19   PageID.18581   Page 12 of
                                      62
                                                                           12



   1       chose not to videotape the interview and photo array.             We
   2       know that in 2014 they had video technology because the
   3       next motion involves an interview of one of the defendants
   4       that was videoed for almost four hours.          That's the proper
   5       way to interview witnesses.
   6                 One of the items that the courts look upon is the
   7       confidence level of the identification.
   8                      THE COURT:    Right.
   9                      MR. FEINBERG:     Also the time period.       We know
  10       the time period was 12 years.       The confidence level in
  11       this particular case is supposedly, we don't know exactly
  12       the wording, but that Mr. Gaskin, upon looking at the
  13       photos, saw Mr. Brown's photo and said that's him.            Later
  14       his confidence level was --
  15                      THE COURT:    Favors.
  16                      MR. FEINBERG:     -- favors him.
  17                      THE COURT:    Right.
  18                      MR. FEINBERG:     Then he says it's been a long
  19       time, and he wanted to be sure it was the right guy, and
  20       he says it favors.      That's not a confidence level of a
  21       positive identification.
  22                      THE COURT:    Right.
  23                      MR. FEINBERG:     The government says that can
  24       be gone into on cross examination.        We argue that it
  25       shouldn't even go that far, that Mr. Gaskin's testimony is


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1414 filed 05/09/19   PageID.18582   Page 13 of
                                      62
                                                                           13



   1       potentially so unreliable.       The government violated many
   2       areas of the law in conducting the interview and the photo
   3       array, that under no circumstances should Mr. Gaskin's
   4       testimony be allowed.
   5                 In the alternative, we need to have an evidentiary
   6       hearing, not necessarily as to whether or not Mr. Gaskin
   7       is 100 percent positive in the identification, but an
   8       evidentiary hearing as to the entire conduct of the lack
   9       of Mr. Gaskin being interviewed 12 years ago, how it was
  10       that he was interviewed on the 13th after the trial had
  11       already started by picking a jury, three days before
  12       testimony was to suppose to be taken, and whether or not
  13       this Court is going to consider, based on the evidentiary
  14       hearing, if the Court needs it to exclude Mr. Gaskin's
  15       testimony.    The evidentiary hearing would require all of
  16       the agents who participated in the interview, as well as
  17       Mr. Gaskin.
  18                 So first we ask the Court to, based on the motion
  19       and the law that the Court has that's been provided by the
  20       government and the defense, and the report of Mr. Gaskin's
  21       interview, to suppress Mr. Gaskin's testimony, and to
  22       exclude him from testifying.
  23                      THE COURT:    Thank you, Mr. Feinberg.
  24                 For the government?
  25                      MR. SLOAN:    Good morning, your Honor.


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1414 filed 05/09/19   PageID.18583   Page 14 of
                                      62
                                                                           14



   1       William Sloan on behalf of the United States.
   2                      THE COURT:    Good morning, Mr. Sloan.
   3                      MR. SLOAN:    Your Honor, I would just like to
   4       begin by handing up a color photo of the lineup which was
   5       referred to in the government's response brief.
   6                      THE COURT:    Okay.
   7                      MR. SLOAN:    And your Honor, Mr. Feinberg does
   8       have a copy of that.
   9                      MR. FEINBERG:     I received it this morning,
  10       your Honor.
  11                      THE COURT:    As I understand it, Photos 4 and
  12       5 were not shown because the witness identified the person
  13       depicted Number 3, is that right?
  14                      MR. SLOAN:    That's actually incorrect, your
  15       Honor, and I think it is an important factual point.             The
  16       way this photo array played out was that -- in keeping
  17       with current best practice -- the agents showed what's
  18       referred to a six pack photo array, six photos, one of
  19       which was of the defendant, five were filler photographs
  20       of individuals of similar ethnicity and age and
  21       appearance.
  22                 The way the agents did this was they presented for
  23       each photo, they instructed the witness to look at each
  24       photo, and tell us if you recognize this person.             That's
  25       it.   The witness did not Photo Number 1, not Number 2.


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1414 filed 05/09/19   PageID.18584   Page 15 of
                                      62
                                                                           15



   1       When Number 3 came up, which was Mr. Brown, the witness
   2       said that's him.     The agents then asked a few follow up
   3       questions as to how do you recognize that person.
   4                 Once that happened, the agents proceeded with
   5       showing 4, 5 and 6, which is an important factor to show
   6       that the agents were not emphasizing Photo 3, or indeed,
   7       giving any feedback to the witness that he may or may not
   8       picked out who the suspect was, and it is standard
   9       procedure in these arrays to go through all the photos,
  10       and give no feedback as whether that was the right person
  11       or not so to speak.
  12                 Your Honor, if I may start out with a couple of
  13       highlight points.
  14                 The defendant's motion cites two basis for
  15       supression, one just to get out of the way, Sixth
  16       Amendment right to counsel.       The case law is clear.
  17       Whatever state practice may be, federal law is very clear
  18       that while there may be a Sixth Amendment right to counsel
  19       for an in person show up by the defendant or lineup, there
  20       is no such similar Sixth Amendment right to counsel
  21       present for a photo array, and the government referred to
  22       that at the end of its brief, but I just want to point the
  23       Court to the case we did not cite, which is clearly on
  24       point, the Supreme Court case, United States versus Ash,
  25       413 U.S. 300, which holds that in an opposed indictment,


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1414 filed 05/09/19   PageID.18585   Page 16 of
                                      62
                                                                           16



   1       photographic display, there is no Sixth Amendment right to
   2       counsel present.
   3                 So turning to the heart of the defendant's motion,
   4       which is the due process claim, as we stated in our brief,
   5       your Honor, the government doesn't think we get past step
   6       one here, which is that the defendant has to make an
   7       initial showing, carry an initial burdensome that there
   8       was some improper law enforcement conduct that was
   9       impermissibly suggestive to the witness, and only then
  10       does the Court need to do a further inquiry into the
  11       specific facts to see if the identification was
  12       nevertheless reliable.
  13                 And as we set forth in our brief describing the
  14       procedure, the agents used almost to a "T", photo array
  15       practices here, and the defense simply pointed to nothing
  16       that would suggest impermissible suggestiveness by the
  17       agents.
  18                 The only thing that Mr. Feinberg raised is the
  19       fact that the agents were not, quote-unquote, blind
  20       administrators, and while I think Mr. Feinberg referred to
  21       what he quoted, said were what the law requires, what I
  22       think he actually was referring to was what a DOJ guidance
  23       manual suggests would be idea circumstances for preferred
  24       procedures.    And that manual itself on the one hand does
  25       suggest a blind procedure as preferable, it expressly


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1414 filed 05/09/19   PageID.18586   Page 17 of
                                      62
                                                                           17



   1       acknowledges that that's not always possible given
   2       practical realities, time constraints, people constraints,
   3       and I think that's what happened here, your Honor.
   4                 This witness was identified to be reinterviewed.
   5       The agents involved in the trial are doing a lot of
   6       witness prep and trial prep.       They went to talk to this
   7       agent (sic).     They brought a photo array with them in case
   8       the interview was successful, and if he remembered
   9       anything.    Based on their initial start of the interview
  10       that he did recall this incident, they then proceeded to
  11       show him a photo array in line with customary FBI
  12       practice.
  13                 So this simply was not a case of the government
  14       intentionally avoiding doing a lineup or involving
  15       counsel.    It was a practical exigency of interviewing this
  16       witness this trial and the run up to trial.
  17                 So, your Honor, I think based on how this
  18       procedure was done and the report the government attached,
  19       as well as photos themselves, there's nothing the defense
  20       can point to in case law that suggests anything about this
  21       procedure was impermissible or suggestive to get to the
  22       factor analysis under Neil v Biggers.
  23                 So the government would suggest that no
  24       evidentiary hearing is necessary here, and in fact,
  25       defense counsel can use cross examination at trial for


                       15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1414 filed 05/09/19    PageID.18587   Page 18 of
                                      62
                                                                            18



   1       this witness, or request certain jury instructions to
   2       answer his concerns.
   3                      THE COURT:    All right.       Thank you, Mr. Sloan.
   4                 Mr. Feinberg?
   5                      MR. FEINBERG:     May I address it from here?
   6                      THE COURT:    No, I think you're better off at
   7       the podium.
   8                      MR. FEINBERG:     It's interesting the
   9       government would say that the DOJ preference of having a
  10       blind array wasn't done because it wasn't -- it was not
  11       always possible.     Time constraints.
  12                 Well, all they have to do was one day later.            I
  13       mean, we're not talking about it was an emergency.             All
  14       they have to do is bring in agents who had nothing do with
  15       the case to conduct the photo array.          That's totally
  16       disingenuous on the government's part.           They caused the
  17       time constraint that they're arguing that they are under.
  18       Not the defense.
  19                 Further, what were the circumstances that
  20       prevented the government from conducting a blind array?
  21       They indicated no circumstances that caused them not to be
  22       able to comply with the DOJ preference of conducting a
  23       blind array.
  24                 Lastly, they never even addressed the fact that it
  25       wasn't done video.      Video lineups are done all the time.


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1414 filed 05/09/19   PageID.18588   Page 19 of
                                      62
                                                                           19



   1       Video interviews are done all the time.          They had the
   2       equipment present like they have every minute of every
   3       day.   It is totally disingenuous to say that they did what
   4       they did because of the delay of their own investigation.
   5       We would argue that absolutely it should be suppressed, or
   6       in the alternative conduct a thorough evidentiary hearing.
   7                      THE COURT:    So how do you respond to the
   8       government's argument that the Court never reaches the
   9       Biggers factors if a wrongdoing is not first established?
  10                      MR. FEINBERG:     The case law that I cited,
  11       your Honor, indicates that there is a suspicion of
  12       impropriety if it's not done properly.          Case law indicates
  13       that there is a likelihood of impropriety if it's not done
  14       the proper way.
  15                 It wasn't done the proper way.        Therefore, there
  16       is a possibility of impropriety which has to go in favor
  17       of the defense since the defense did not cause the
  18       impropriety.
  19                 Also, under the trilogy, the Wade, Gilbert,
  20       Stovall back in the late 6O's, indicates that where the
  21       defendant is available, a live show up should be
  22       conducted.    Not just state, but those were United States
  23       Supreme Court cases, which is, I guess, the prosecution
  24       doesn't go that far back into the late 6O's to see what
  25       the language of the Wade case.


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1414 filed 05/09/19    PageID.18589   Page 20 of
                                      62
                                                                            20



   1                 They didn't also respond as far as why it wasn't
   2       videotaped, and why they didn't have multiple arrays which
   3       is always the preference.
   4                      THE COURT:    All right.       Mr. Sloan?
   5                      MR. SLOAN:    Your Honor, just briefly --
   6                      THE COURT:    Tell me about, again, the
   7       threshold finding that you believe needs to occur before
   8       the Biggers factors are considered.
   9                      MR. SLOAN:    The defense has to make some
  10       showing that there was impermissible suggestiveness by law
  11       enforcement agents, and the defense's only argument is
  12       that this procedure was not done under perfect ideal world
  13       scenarios laid out in the DOJ guidance manual, but that's
  14       not what the law says.
  15                 The government laid out in its brief, the examples
  16       and case law precedent that show where examples of
  17       impermissible suggestiveness are much more dramatic than
  18       anything that occurred here.
  19                 For example, in a photo array making the
  20       defendant's or suspect's photograph the only color
  21       photograph, and all of the others are black and white
  22       calls out that photograph.
  23                 For instance, agents telling the witness in
  24       advance the suspect is in this array, or conversely, when
  25       a witness picks out a photo confirming or giving feedback


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1414 filed 05/09/19   PageID.18590   Page 21 of
                                      62
                                                                           21



   1       to that witness that that's the right person.
   2                 Those are examples of impermissible suggestiveness
   3       on behalf of agents, but in the defendant's motion, he's
   4       alleged no facts whatsoever of impermissible
   5       suggestiveness.     All he's alleged is that in a perfect
   6       world this could have been videoed and have blind
   7       administrators, but that's not what the law requires.
   8                      THE COURT:    So you agree that the
   9       identification here was -- let's assume for the moment
  10       that we're going to address the totality of the
  11       circumstances analysis, and the factors include his level
  12       of certainty.     Mr. Feinberg points out that while he
  13       declared his certainty initially, his last references were
  14       to -- the photograph favors, and when asked to explain
  15       what that means, he said looks like the person I saw.
  16                      MR. SLOAN:    Yes, your Honor.      So one point
  17       that the government made in its brief, his initial
  18       recognition of the photograph seems to indicate greater
  19       certainty, and he certainly hedged afterwards, and there's
  20       some indication case law and social science research that
  21       indicates that the initial reaction should carry great
  22       weight.    I believe the Manson v Brathwaite, Supreme Court
  23       case, refers to that, and that fall under the -- let me
  24       turn to the other factors just briefly, your Honor.
  25                 I think the first two factors in terms of the


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1414 filed 05/09/19    PageID.18591   Page 22 of
                                      62
                                                                            22



   1       witness' opportunity to view the suspect back in 20O6 and
   2       his degree of attention both weigh in favor of reliability
   3       here.   The witness' explanation was he was taken a lunch
   4       break in the vicinity of where --
   5                      MR. FEINBERG:     Objection.      We don't know.
   6       That's not in the report.
   7                      MR. SLOAN:    Your Honor, that is in --
   8                      MR. FEINBERG:     The report never -- the
   9       witness was never asked how long you had to look.             Were
  10       you doing anything else in the meantime?           That's why,
  11       number one, it should be excluded, or an evidentiary
  12       hearing.    The prosecutor can't indicate what the person
  13       said that was not recorded, and what you and I don't have.
  14                      THE COURT:    All right.       It would assist the
  15       Court to have some proffer as Mr. Sloan was beginning --
  16                      MR. FEINBERG:     The prosecutor was not
  17       present.    How can he make a proffer?
  18                      THE COURT:    I recognize that.
  19                      MR. FEINBERG:     He didn't talk to the witness.
  20                      THE COURT:    This is -- this maybe pertinent
  21       to the Court's decision about whether to have a
  22       evidentiary hearing or not.       I'm not going to be relying
  23       on representations that are not in the record somewhere.
  24       Go ahead.
  25                      MR. SLOAN:    Your Honor, so I think what's


                       15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1414 filed 05/09/19   PageID.18592   Page 23 of
                                      62
                                                                           23



   1       captured in the report, which is what I'll limit the
   2       proffer to -- and that again is attached to the
   3       government's response brief -- is that this witness was on
   4       a lunch break in the vicinity of where the initial fight
   5       broke out between Defendant Brown and the victim, and from
   6       the report it indicates the witness observed not only the
   7       initial fight, from which he describes Mr. Brown's
   8       appearance relative to the other person that he was
   9       fighting, the ultimate victim, he then describes the
  10       suspect leaving the area.       The witness was still there
  11       minutes later when Mr. Brown came back with a rifle.             The
  12       witness observed him go into an apartment complex, heard
  13       shots, and witness was still there when Mr. Brown exited
  14       the apartment complex and fled the area.
  15                 So while it's true the report doesn't indicate a
  16       specific time amount, what is clear from the report is
  17       that the witness had at least a several minute period to
  18       view the suspect on several different occasions.
  19                 In terms of the second factor, the attention,
  20       certainly observing a fight, and then watching somebody
  21       come back with rifle and hearing shots is a dramatic event
  22       that would draw someone's attention to these facts.
  23                 Mr. Feinberg's motion seems to indicate that the
  24       observer had to be some type of trained observer.            That's
  25       simply not the case, otherwise we couldn't have any


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1414 filed 05/09/19   PageID.18593   Page 24 of
                                      62
                                                                           24



   1       eyewitnesses who weren't police officers.          So I think
   2       those two factors cut in favor of reliability.
   3                 Certainly the government can see there was quite a
   4       time lapse between the 20O6 shooting and the 12 year later
   5       identification.     So we would not contest the fact that
   6       that factor probably cuts against reliability.
   7                 In terms of --
   8                      THE COURT:    May I ask, if again, there is a
   9       hearing to take place, do you have a description from --
  10       there's a second witness who's been known for sometime,
  11       apparently, and that person was interviewed.          Is there any
  12       similarity or dissimilarity between the physical
  13       descriptions of those two witnesses?
  14                      MR. SLOAN:    With the Court's indulgence?
  15                      THE COURT:    Sure.    Mr. Sloan?
  16                      MR. SLOAN:    I don't want to risk misspeaking.
  17       I don't recall exactly if the specific physical
  18       description of the suspect has similarities with the other
  19       witness.    However, what I can proffer to the Court is that
  20       the other witness' general description of the sequence of
  21       events in terms of the fight, the return with the rifle,
  22       and suspect fleeing align with this witness' account.
  23                      THE COURT:    Okay.    You agree that the
  24       Court -- again, if we're addressing these factors, if the
  25       Court is to consider the length of time between the crime


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1414 filed 05/09/19   PageID.18594   Page 25 of
                                      62
                                                                           25



   1       and the time of the confrontation, I guess you would have
   2       to concede that, that would disfavor permitting eyewitness
   3       identification?
   4                      MR. SLOAN:    Yes, your Honor.
   5                      MR. DALY:    Could you your Honor speak into
   6       the microphone?
   7                      THE COURT:    Yes, I'm sorry.
   8                 So the Court inquired whether the government
   9       agrees that the time between the crime and the
  10       confrontation here is -- couldn't get much worst from the
  11       standpoint of admissibility.
  12                      MR. SLOAN:    Your Honor, the government
  13       concedes that this factor weighs against reliability.
  14       This was a 12 year time span between the events and the
  15       I.D.
  16                 But again, your Honor, I would point the Court
  17       to -- I've already covered the first two factors -- but as
  18       to Number 3 and 4, the accuracy of the description and the
  19       level of certainty, I believe the report indicates that
  20       the witness actually had a pretty specific description of
  21       the defendant in terms of complexion relative to the
  22       person whom he was fighting, clean cut.          He seems to
  23       recall specific clothing, but he wasn't sure given the
  24       lapse in time.
  25                 And again, just turning to the fourth factor,


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1414 filed 05/09/19   PageID.18595   Page 26 of
                                      62
                                                                           26



   1       level of certainty, the agents indicate in their report
   2       that when he turned to Photo 3 in the array, he
   3       immediately said that's him, and as the agents are trained
   4       to do, they ask further questions to gauge the level of
   5       certainty.    They document that in their report, and that's
   6       certainly fair game for cross examination for counsel at
   7       the trial to say, why did you back off of it, but the fact
   8       remains his initial identification was immediate that
   9       Photo 3 was the suspect.
  10                 So, your Honor, the government does think if we
  11       get to the next step, Step 2, the factors would
  12       nevertheless weigh in favor of reliability.
  13                      THE COURT:    And if the Court concluded that
  14       the identification evidence is inadmissible, you -- that
  15       doesn't go as far as Mr. Feinberg was asking the Court to
  16       consider denying the witness' testimony, not permitting
  17       the witness to testify at all in the case if I understood
  18       his argument, and you agree that would be the appropriate
  19       remedy?
  20                      MR. SLOAN:    Your Honor, I do think if the
  21       Court does find there was impermissible suggestiveness,
  22       and then the Court makes a further finding under the
  23       Biggers factors, the statement was not reliable, then
  24       that, the Court's finding, would taint the witness'
  25       testimony for in court testimony.


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1414 filed 05/09/19   PageID.18596   Page 27 of
                                      62
                                                                           27



   1                      THE COURT:    On any subject?
   2                      MR. SLOAN:    Just as to the identification,
   3       your Honor, and the pretrial identification photo array.
   4                      THE COURT:    All right.
   5                      MR. SLOAN:    So I don't think it is really as
   6       broad as could not testify to anything, and the government
   7       would consider what the scope of that would be, but as to
   8       the specific photo array identification of Robert Brown, I
   9       think if the Court makes a finding that it was not
  10       reliable, that would taint the government attempting to
  11       elicit an in court I.D. from that witness, but I can
  12       proffer to the Court I don't believe the government would
  13       be seeking to do that any way.
  14                      THE COURT:    So as it relates to the third
  15       factor, you don't really, other than complexion and clean
  16       cut, you don't have any prior description of the
  17       individual from the --
  18                      MR. SLOAN:    Your Honor, if you're asking a
  19       specific height or weight, no, we do not.
  20                      THE COURT:    Okay.
  21                      MR. SLOAN:    Court's indulgence?
  22                      THE COURT:    Yep.
  23                      MR. SLOAN:    Just a brief point of
  24       clarification, I was conferring with one of the agents,
  25       Agent Nasser who was present for the interview, what he


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1414 filed 05/09/19   PageID.18597   Page 28 of
                                      62
                                                                           28



   1       related to me in terms of height, the witness referred to
   2       the other agent present, Agent Horvath, and indicated that
   3       the suspect was about the height of that agent, and I
   4       believe that agent is a little under 5-10.
   5                      THE COURT:    Okay.    Mr. Brown is how tall?
   6                      MR. FEINBERG:     My client indicates, and my
   7       information is he's 6 feet 2 inches.
   8                      THE COURT:    Okay.
   9                      MR. SLOAN:    So your Honor, that's all the
  10       proffer that I can tell you.       Agent Nasser is here if the
  11       Court wants to hear further about the conduct or the
  12       procedure.
  13                      THE COURT:    Well, I think that would probably
  14       need to occur under oath in a hearing that I don't know if
  15       Mr. Feinberg --
  16                      MR. FEINBERG:     Well, I would request all the
  17       agents that participated in the interview, and the alleged
  18       identification, as well as Mr. Gaskin.
  19                      THE COURT:    So we have Agent Horvath and we
  20       have --
  21                      MR. SLOAN:    Agent Nasser.
  22                      THE COURT:    The only two?
  23                      MR. SLOAN:    Yes, sir.
  24                      THE COURT:    And had Nasser been on this
  25       investigation from --


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1414 filed 05/09/19    PageID.18598   Page 29 of
                                      62
                                                                            29



   1                      MR. SLOAN:    Yes.
   2                      THE COURT:    Okay.
   3                      MR. SLOAN:    I can get a specific answer if
   4       the Court wants, but both agents are involved in the
   5       investigation of the gang.
   6                      THE COURT:    All right.       Well --
   7                      MR. FEINBERG:     I think it is also interesting
   8       that Agents Horvath and Nasser are in the courtroom, but
   9       it certainly concerns me that they were present during my
  10       argument, the government's argument and your questioning
  11       of the Assistant U.S. Attorney, and they have been court.
  12       So they know the areas in which my concerns are, and I
  13       think that's improper for them to have been present,
  14       understanding I didn't know -- I don't know who they are,
  15       and that the government would not have sequestered them.
  16                      THE COURT:    Okay.
  17                      MR. SLOAN:    Your Honor?
  18                      THE COURT:    Yes.
  19                      MR. SLOAN:    Well, Agent Horvath is not here.
  20       So if the Court has concerns about Agent Nasser having
  21       been here for some of the factual proffer, which again,
  22       was based on his report, he has not been in the courtroom.
  23                      THE COURT:    All right.       Thank you.
  24                      MR. SLOAN:    Thank you, your Honor.
  25                      THE COURT:    If the Court gets to the totality


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1414 filed 05/09/19   PageID.18599   Page 30 of
                                      62
                                                                           30



   1       of circumstances analysis, and the consideration of the
   2       five factors that are set forth in the Biggers case, the
   3       weighing of those factors I think in general would lead
   4       the Court to deny the admissibility of the identification
   5       testimony.    That would not affect testimony from the
   6       witness about his observations of the incident, but it
   7       sounds as if the accuracy of the witness' prior
   8       description of the criminal is -- the criminal defendant
   9       in this case -- it's not that it is inaccurate, but it is
  10       fairly limited in its value; that the witness' degree of
  11       attention we don't really know about from the information
  12       submitted so far.
  13                 The opportunity for the witness to view the
  14       criminal at the time of the crime is -- would I think
  15       slightly favor the government's claim, but again, all of
  16       these factors should be considered by the Court in an
  17       evidentiary hearing I think before making a final
  18       assessment.
  19                 The level of certainty demonstrated by the witness
  20       at the confrontation I think has been described here, and
  21       it is -- and it starts out with a declaration of certainty
  22       and ends up with something more equivocal.          The length of
  23       the time between the crime and the confrontation is, of
  24       course, as I indicated, is a difficult factor for the
  25       government to overcome in terms of the reliability of the


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1414 filed 05/09/19   PageID.18600   Page 31 of
                                      62
                                                                           31



   1       identification testimony.
   2                 And so at this point I'm unable to rule with
   3       finality on the question of identification, but I would
   4       have to say that likelihood of its being found by the
   5       Court to be permissible is not so great.
   6                 I will, however, in order to give the government
   7       fair opportunity to be heard on the subject, be willing to
   8       conduct an evidentiary hearing, which may benefit the
   9       Court in further consideration of these factors, or may
  10       persuade the Court that there is -- I'm still not certain
  11       that the totality of circumstances are only considered if
  12       the Court finds that the -- there's reason to believe that
  13       the process was impermissibly suggestive, because that
  14       showing I think is problematic under the -- what we know
  15       so far.
  16                 So I need to look at that aspect of the
  17       government's argument to be certain as well.
  18                 So I guess you're not getting a final ruling
  19       today, and I would leave to the government the opportunity
  20       to have an evidentiary hearing if they choose to do that,
  21       but I'll give you a chance to talk about that among
  22       yourselves.
  23                      MR. SLOAN:    Thank you, your Honor.
  24                      THE COURT:    Okay.    All right.    So then the
  25       second issue to address is the defendant Shy's motion in


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1414 filed 05/09/19   PageID.18601   Page 32 of
                                      62
                                                                           32



   1       limine to preclude Mr. Bailey's video recorded statements,
   2       and so I'll hear from Mr. Magidson.
   3                      MR. MAGIDSON:     Good morning, your Honor.
   4                 So over the weekend we did file a motion in limine
   5       to preclude co-defendant Bailey's recorded statements, and
   6       or to sever him from this trial, and he can have his own
   7       trial later on, or join other people, but he should not be
   8       part of this case, or the statements themselves should not
   9       be included as it relates to Mr. Shy.
  10                 So just to back up a little bit, on -- we did have
  11       an opportunity late -- or one point last week to view the
  12       evidence of the -- that the government was intending to
  13       introduce in this matter, and I went there.          There's a lot
  14       of evidence, but not 344A, which was these video clips.
  15                 Then later on Friday, I guess we were here on
  16       motions at some point -- on Thursday -- and it was
  17       revealed that there was something going on.          We didn't
  18       know what because other defense counsel didn't know.
  19       Ultimately, it was revealed that there is these video
  20       clips, and that ultimately we would receive them later
  21       that day or Friday -- I forgot which -- but nevertheless,
  22       it took awhile -- a little bit to review these clips, and
  23       what we received were six individual clips of purported
  24       statements.    They vary in length.      They are short.      Some
  25       are a minute, maybe some are 2-3 minutes, but relatively


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1414 filed 05/09/19   PageID.18602   Page 33 of
                                      62
                                                                           33



   1       short.
   2                 But at least in my view, these clips are damaging
   3       and hurt Mr. Shy, and in those videos Bailey confirms that
   4       the Seven Mile Bloods, you know, is as a matter of fact,
   5       an organization.     He states that there's about six core
   6       group members when you filter it down, not the wannabes or
   7       the druggies or anything like that, but when you get right
   8       down to it, there's a core of six or seven, and
   9       coincidently that's who's on trial here.
  10                 The number being tried in Group 2 states that
  11       there was a beef or a dispute with Hustle Boys, the Gutta
  12       Gang, and things like that.       He names individuals who he
  13       specifically thinks are enemies and who coincidentally are
  14       now dead.
  15                 So this corroborates in many respects what the
  16       government is alleging here, that these are some overt
  17       acts, that these are corroborated.
  18                 Now we have available -- the Court has not seen
  19       this obviously -- we have available, if the Court believes
  20       that it would be helpful, we can play that for the Court.
  21       As I said the six clips might be about eight to 10
  22       minutes.    So it may be worthwhile for the Court to view
  23       that.    So you will have to take my word for it.
  24                      THE COURT:    I have actually seen the clips
  25       that are at issue.


                       15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1414 filed 05/09/19   PageID.18603   Page 34 of
                                      62
                                                                           34



   1                      MR. MAGIDSON:     Okay.   So then --
   2                      THE COURT:    I heard all the pertinent clips.
   3                      MR. MAGIDSON:     Okay.   So then as long as you
   4       seen and heard that, then there's no need to rehash that.
   5                 So basically what we're suggesting here is that
   6       this statement is not a statement made by a co-conspirator
   7       or in furtherance of the conspiracy; that is, it is not an
   8       exception under 801(d)(2)(E).
   9                 To show that it was such a statement, the
  10       government has to show, number one, that the conspiracy
  11       existed, the defendant was a member of the conspiracy, and
  12       that the co-conspirator statements were made in
  13       furtherance, but here at the time of the statement -- when
  14       the statements were made, they were made not in
  15       furtherance of the conspiracy, but they were made as some
  16       sort of proffer to the government while he was in custody,
  17       and so a person's role in the conspiracy ends with his
  18       arrest, and we've cited case law to that effect.
  19                 Now so what we're left with then are statements
  20       made by a co-defendant, a co-conspirator that's not in
  21       furtherance, but yet, we have no ability to cross examine
  22       that statement, and so then we have to look to Crawford v
  23       Washington, and the cases cited there that provides that
  24       the admission of testimonial hearsay against the defendant
  25       is prohibited unless the declarant is unable to testify at


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1414 filed 05/09/19   PageID.18604   Page 35 of
                                      62
                                                                           35



   1       trial, and the defendant had a prior opportunity to cross
   2       examine him, and so we have no opportunity to cross
   3       examine him.     He is unavailable at trial because we do not
   4       anticipate him testifying.
   5                 Further, we cited Bruton as well, which the Court
   6       is familiar with.     In Bruton, we have a co-defendant whose
   7       statement is being offered.       It implicates the defendant.
   8       That can't -- that can't come in.
   9                 Now there's been some suggestion that a curvative
  10       jury instruction only with regard against Mr. Bailey would
  11       suffice.    We're saying that's not right.        It's not -- we
  12       can't use that.     It's our position that even when the jury
  13       is instructed to consider the confession only against the
  14       defendant, the court in Bruton determined that the danger
  15       of misuse of the confession by the jury is too great to be
  16       constitutionally permissible, and we cited that as well.
  17                 Mr. Bailey's out of court statements support the
  18       allegations that there was an organization.          It had
  19       structure and purpose.      He talks about shootings of named
  20       victims in the indictment.       He talks about the core group
  21       of Seven Mile Bloods.      He talks about the fact that
  22       they're having -- this gang is having beefs with other
  23       gangs, and named names, and those people are actually
  24       victims in this case, and finally, because he was in
  25       custody, these were not made in furtherance.


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1414 filed 05/09/19    PageID.18605   Page 36 of
                                      62
                                                                            36



   1                 So we believe that the admission of Bailey's
   2       statements violates the holdings in Crawford and Bruton.
   3       There is no prior opportunity to cross examine, and we
   4       also believe that Bruton is instructive.           Regardless of
   5       what instructions the jury might be receiving, it's going
   6       to cause confusion.      It's going to cause problems, and I
   7       think the only remedy as I've outlined here is number one,
   8       it cannot be used against Mr. Shy in this case, and that
   9       the proper remedy then is to either prohibit them, or if
  10       the government -- nor if the Court is not so inclined,
  11       then Mr. Bailey has to be severed from this group because
  12       otherwise the -- those statements are going to be used
  13       against Mr. Shy in a way that would be improper, and we
  14       have no ability to cross examine Mr. Bailey on this.
  15                      THE COURT:    All right.       I guess I'll hear
  16       from the other defendants.
  17                      MR. H. SCHARG:     Henry Scharg on behalf of
  18       Eugene Fisher.
  19                 This information was disclosed to me.         I filed a
  20       submission letter with the Court raising my objections.
  21       When Mr. Shy's attorney filed the motion in limine, I
  22       joined in on that, and I appreciate the opportunity to --
  23       to add to the arguments of Mr. Shy's counsel.
  24                      THE COURT:    For purposes of your argument, we
  25       can assume that the testimony is -- clearly it is


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1414 filed 05/09/19   PageID.18606   Page 37 of
                                      62
                                                                           37



   1       testimony, and the question ultimately for co-defendants
   2       is coming down to whether they are ineluctably, whether
   3       inescapable, that somehow the co-defendants individually
   4       have been --
   5                      MR. H. SCHARG:     Prejudiced?     Judge, this
   6       statement was made in 2014.       This statement has been
   7       hanging out there for four years.        The first time we find
   8       about this -- Mr. Fisher and I find out about this is last
   9       Friday.    It's important --
  10                      THE COURT:    When you say find out about this,
  11       you mean find out about the government's intention to use
  12       the testimony?
  13                      MR. H. SCHARG:     No, we didn't even know about
  14       the statement.     We didn't even know about the interview
  15       until last Friday.      This is a pattern of trial by ambush,
  16       and I would say if this was an isolated incident, it could
  17       be -- it wouldn't be excusable, but it could be more
  18       understanding.
  19                 What we have is a pattern in terms of Mr. Brown
  20       with the surfacing of this identification 12 years later,
  21       the dumping of Facebook materials right before the trial,
  22       and then this last move by the government believing
  23       that -- they are going uncheck in their power and their
  24       position in this case.
  25                 The problem is if we look at -- I would like to


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1414 filed 05/09/19   PageID.18607   Page 38 of
                                      62
                                                                           38



   1       play this because it has the impact, Clip Number 2,
   2       whereas during this interview -- and I can't talk about
   3       the interview because we still don't have this three hour
   4       proffer by Mr. Bailey.      All we were able to -- when I say
   5       "we", Mr. Fisher and what I have been able to obtain are
   6       these seven snippets.      The government and Mr. Bailey's
   7       counsel have denied the request for us to -- for
   8       Mr. Fisher and I to see the entire three hour interview.
   9       So I can only speak from the seven snippets, but the
  10       second snippet is the most damaging and prejudicial.
  11                 Please play it, Mr. Anton.
  12
  13                            (Video clip played.)
  14
  15                      MR. H. SCHARG:     So the evidence is that the
  16       government is preparing -- or requesting to present to
  17       this jury by a co-defendant who acknowledges that he was a
  18       member of the Seven Mile Bloods, was that there is a
  19       number of peons, but the core is seven or five members.
  20                 This jury is going to be watching that and looking
  21       at that table, and what do they see?          They see five to
  22       seven defendants that are alleged to be members of the
  23       core group of the Seven Mile Bloods, and I have to sit
  24       there and cannot defend my client in terms of any type of
  25       cross examination of that statement.


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1414 filed 05/09/19   PageID.18608   Page 39 of
                                      62
                                                                           39



   1                 And furthermore, I don't even know what else is in
   2       that interview.     I don't know whether if during that three
   3       hours plus, whether my client was ever mentioned as being
   4       one of those cores, being one of the peons, whatever.
   5                 What I do know was that by the government sitting
   6       back on this until Friday, trying this case by ambush,
   7       that when this jury panel was seated, when we going
   8       through the jury voir dire process, that my opportunity to
   9       question the jury panel as to whether they could be fair
  10       and objective, and whether they would have any bias
  11       regarding this type of evidence, that ship has sailed.
  12                 So there has been an impact and a prejudice to my
  13       client because we were not informed of this exhibit that
  14       has been known to the government for four years, that they
  15       sat on it for four years, and surfaces it intentionally
  16       and by designed after the jury selection process.
  17                 I know what I think.     I know what my client
  18       thinks.    I probably know what this jury will think when
  19       they hear -- if they hear that clip, and you don't have to
  20       be an accountant or a rocket scientist to count up to
  21       five, six or seven, and during that we just sit there, and
  22       we continue to sit there, and we don't get a chance to
  23       challenge that in any way.
  24                 The government in their brief says, the Court is
  25       not required to do so unless the evidence will cause


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1414 filed 05/09/19   PageID.18609    Page 40 of
                                      62
                                                                            40



   1       compelling specific and actual prejudice.          If that's not
   2       actual prejudice, then I haven't seen it in the courtroom.
   3       The fact is that my client is and will be prejudiced by
   4       that snippet indicting him for being one of five, six or
   5       seven core members of the Seven Mile Bloods, when the
   6       government knows that he is not even a member of the Seven
   7       Mile Bloods.
   8                      THE COURT:    Tell me how, Mr. Scharg, that
   9       this sets forth ineluctably an identification of your
  10       client as a member when they are going to hear the names
  11       of probably all 22 defendants at one point or another
  12       during the course of the trial, and why would they be led
  13       inescapably to the conclusion that your client is one of
  14       the members when there are 22 others to choose from?
  15                      MR. H. SCHARG:     Well, first of all, there
  16       were 22 that were indicted.
  17                      THE COURT:    They were speculating.          So of
  18       course, they would be instructed that they may not -- that
  19       they are -- it is evidence for limited purposes to be
  20       considered only for that limited purpose, and multiple
  21       other instructions; that if they listen to the
  22       instructions and follow the instructions, it would
  23       preclude any inescapable conclusions that your client is a
  24       member of the SMB.
  25                      MR. H. SCHARG:     First of all, not only is


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1414 filed 05/09/19   PageID.18610   Page 41 of
                                      62
                                                                           41



   1       there 22 indicted individuals related to the Seven Mile
   2       Bloods, but there were a number of other individuals that
   3       were members of SMB, who associated with SMB, and have
   4       about been buried as former members of SMB.
   5                 The problem is is the optics, Judge.        We could
   6       assume that the jury will follow the law, but what we do
   7       is we have these optics.       We have these optics that the
   8       jury is going to hear about six or seven core members, and
   9       there's six defendants and Billy Arnold, which makes seven
  10       at this table, and the reason we're at this point is
  11       because the government sat back.        They hid in the woods.
  12       They are conducting trial by ambush, because if they would
  13       have disclosed this to us sometimes during the last four
  14       years, when we picked a jury, this was probably numero uno
  15       in terms of the areas we would have explored to see if
  16       whether it would have any impact on the jury.
  17                 So instead of assuming that the Court -- that the
  18       jury will follow the Court's instructions, we could have
  19       had -- actually had a dialogue and questioned the jurors
  20       like on other issues as to whether it would have any
  21       impact upon them, and that's the whole purpose of the
  22       government coming forward with this type of information
  23       and evidence and exhibits, so that we can question the
  24       jury in advance, and they shouldn't be rewarded for this
  25       for laying back and holding back, this sitting back and


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1414 filed 05/09/19    PageID.18611   Page 42 of
                                      62
                                                                            42



   1       disclosing that after we pick the jury.
   2                 The horse has left the barn.        There's no way now
   3       to question this jury as to any impact that would have,
   4       and I suggest to the Court I don't think it should be
   5       minimized that this jury is going to disregard the optic
   6       of a co-defendant in this case sitting at the table with
   7       this jury watching him, watching the screen, and watching
   8       the defendants at this table, and this could have been
   9       avoidable.    This could have been avoidable if four years
  10       after the fact, but prior to the jury selection this could
  11       have been disclosed to Mr. Fisher and myself.
  12                 I believe that the Court has two choices, you can
  13       either deny the government's -- deny the government the
  14       opportunity to show these clips, or sever Mr. Bailey from
  15       this trial.    Thank you.
  16                      THE COURT:    Thanks.
  17                      MR. FEINBERG:     On behalf of Mr. Brown, we
  18       would were able to file an inclusion to the motion, but we
  19       do ask to be included in the motion, and adopt Mr.
  20       Magidson's and Mr. Scharg's argument.
  21                      THE COURT:    All right.       Thank you.
  22                      MR. JOHNSON:     Same for Devon Patterson,
  23       Judge.
  24                      THE COURT:    Okay.    Thank you, Mr. Johnson.
  25                      MR. S. SCHARG:     Your Honor, Steven Scharg on


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1414 filed 05/09/19    PageID.18612   Page 43 of
                                      62
                                                                            43



   1       behalf of Mr. Porter.      I filed notice of joiner with Mr.
   2       Shy's attorney on this issue, and we feel it would be
   3       prejudicial to allow -- for the statement to be allowed.
   4                      THE COURT:    All right.       Thank you, sir.
   5                 Okay.   From the government, Ms. Smith?
   6                      MS. SMITH:    Thank you, your Honor.
   7                 Rule 16, as you know, does not require our
   8       disclosure of co-defendant statements to other defendants
   9       in this trial group, but if Mr. Scharg had checked his
  10       discovery, he would have seen on May 31st, three weeks
  11       before -- or weeks before he started picking a jury, a 3O2
  12       was disclosed to him that detailed the interview between
  13       Bailey and law enforcement.       The 3O2 corresponds with the
  14       video, one of the clips that you saw this morning.
  15                 And so he had the information in his possession
  16       when we picked the jury, and I was not here for jury
  17       selection, but I'm confident that these defense attorneys
  18       took the time to voir dire potential jurors on their
  19       ability to parse out evidence specific to their client, as
  20       well as specific to other clients.
  21                 And so I think that issue, to the extent that he
  22       complains that he didn't have an opportunity, I'm sure he
  23       did take an opportunity in a general sense, but he also
  24       had that specific interview in his possession by the time
  25       the jury selection started.


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1414 filed 05/09/19   PageID.18613   Page 44 of
                                      62
                                                                           44



   1                 So I'll cut to the chase.      There's three issues
   2       here, the Crawford issue, the Bruton issue and the
   3       severance issue, and as we noted, we don't intend on
   4       introducing defendant Bailey's against anybody except for
   5       defendant Bailey, and because of that, Crawford is not an
   6       issue.    It's not implicated, and we don't need to continue
   7       on in the discussion.
   8                 If we were seeking to introduce those statements
   9       as against the other defendants, then we would have
  10       another problem, but we don't because we're not going to.
  11                 So that brings us to the next issue, which is even
  12       where the defendant admits to being part of a group, as
  13       what happened here, and even if those statements could be
  14       helpful for us to prove a conspiracy against the remaining
  15       defendants, there's still no Crawford issue, and I noted
  16       cases in my brief that included specific RICO cases, and
  17       that is Vasilakos, V-a-s-i-l-a-k-o-s, the Driver case, the
  18       Espinoza case and the Norwood case, N-o-r-w-o-o-d, and I
  19       call the Court's attention to the Norwood case because
  20       that -- those facts are similarly aligned with the facts
  21       that are occurring here.       So we have no Crawford issue.
  22                 The next question is do we have a Bruton problem?
  23       We only have a Bruton problem if defendant Bailey's
  24       statements implicate one of the other individual
  25       defendants at the table, and that's not the case here.


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1414 filed 05/09/19   PageID.18614   Page 45 of
                                      62
                                                                           45



   1       The defendant does not name any particular individuals in
   2       those clips, no nicknames, no characteristics, and no
   3       specific identifiers that would implicate unfairly any of
   4       these defendants sitting at the table.
   5                 Now Mr. Scharg made reference to the fact that the
   6       defendant said -- talked about this core group of Seven
   7       Mile Bloods being somewhere between five and seven, and I
   8       would note as the Court has recognized, the Seven Mile
   9       Bloods consisted of more than five to seven people, and in
  10       fact, as the case progresses, we're not even alleging that
  11       defendants Fisher or Porter were part of that core group.
  12                 We are alleging an enterprise of which all of
  13       these defendants were a part of, but not just them.            There
  14       are 22 individuals on the indictment, and there will be
  15       dozens of names that will come up as alleged SMB members
  16       during the trial.
  17                 So even that statement doesn't even come close to
  18       being a Bruton problem, and again the cases that we cited
  19       in our brief support that.
  20                 So because there's no Crawford issue and because
  21       there's no Bruton issue, there's no basis for severance
  22       here.    I don't think that there's a basis for individual
  23       defendants to kick a different defendant out of a trial
  24       group.    I think they can only ask for their own severance,
  25       but nevertheless, the Vasilakos case talks about the


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1414 filed 05/09/19   PageID.18615   Page 46 of
                                      62
                                                                           46



   1       limiting instructions that are appropriate in cases like
   2       this.    The jury is presumed to understand what they are
   3       being instructed heeds to do, and they are presumed to
   4       follow those instructions, and there's been no indication
   5       that this jury is any different than any other juries.
   6                 So your Honor, for all of those reasons, the
   7       defendants' motion should be denied.
   8                      THE COURT:    Thank you, Ms. Smith.
   9                      MR. H. SCHARG:     One point, your Honor.
  10                      THE COURT:    Yes.
  11                      MR. H. SCHARG:     And I'm trying to look at it
  12       right now to verify any recollection.         We received the
  13       exhibit list after it was due, but the original witness
  14       list we received was on May 31, 2018.
  15                 My recollection and the recollection of others at
  16       the table was that that exhibit regarding the 3O2
  17       narrative was not on that witness list.          It was on the
  18       supplemental witness list that we received last Wednesday,
  19       June 12th, after the jury selection, and unless the
  20       government can prove me wrong, and they have the original
  21       witness list, and they point to the fact that that was
  22       disclosed before jury selection, I welcome them to correct
  23       me, and to support their allegations, which I think are
  24       false.
  25                      MS. SMITH:    Your Honor, he's correct about


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1414 filed 05/09/19   PageID.18616   Page 47 of
                                      62
                                                                           47



   1       the witness list.     What he's incorrect about is he
   2       received a copy of the 3O2, which was the report
   3       indicating that this defendant had been interviewed by law
   4       enforcement.     He had that information on May 31st.         We are
   5       not required to select and give them copies of every
   6       single exhibit that we intend to use at trial a month
   7       before the jury is selected.       He had the information in
   8       his hand.
   9                      MR. H. SCHARG:     We didn't have the exhibit
  10       list.   On the original exhibit list that she referred to
  11       on May 31st, we did not have the exhibit regarding
  12       Mr. Bailey's 3O2 or any reference to the videos.             So for
  13       her to make that argument to the Court that we had before
  14       the jury selection is blatantly false.          We did not receive
  15       that until last week after the jury was selected.
  16                 So that argument -- that argument, that narrative,
  17       is false, and that is the most important --
  18                      THE COURT:    I'm trying to understand.        You
  19       do -- you dispute that you got the 3O2 which describes the
  20       statement?
  21                      MR. H. SCHARG:     On the exhibit list of May
  22       31th.
  23                      MR. SPIELFOGEL:     Not only the exhibit list, a
  24       witness list.     There's a witness list that was given, and
  25       after that there was an exhibit list, and on the first


                       15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1414 filed 05/09/19    PageID.18617   Page 48 of
                                      62
                                                                            48



   1       exhibit list that we got, it wasn't -- there was not
   2       anything about Corey Bailey clips, and it wasn't until
   3       after they met with the government -- and I was not able
   4       to be at that because I was not here -- that's when it
   5       came out, and I believe that was after the jury --
   6                      MR. H. SCHARG:     June 12th.
   7                      MR. SPIELFOGEL:     June the 12th.       So when you
   8       get an exhibit list, even if you got 3O2's and they say
   9       they are not going to use it, what is there to talk about?
  10       It isn't until after the jury is picked on June 12th.
  11       That's when it was first listed.
  12                      MS. SMITH:    Your Honor, defense counsel's
  13       argument was that he couldn't properly voir dire the jury
  14       panel because he didn't know of this interview's
  15       existence.    He knew of the interview's existence.           That we
  16       had not selected particular clips is of no moment.             His
  17       argument that he did not know this interview existed is
  18       belied by the fact that he received a 3O2 on May 31st.
  19                      MR. SPIELFOGEL:     Why would you get up and
  20       question jurors about something that isn't on an exhibit
  21       list that you don't think is going to be introduced at
  22       trial?    It would be ridiculous.      You may hear testimony
  23       about a clip from one of the defendants when it's not even
  24       on a list.    They don't even know that there is clips.
  25                      THE COURT:    All right.       Well --


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1414 filed 05/09/19   PageID.18618    Page 49 of
                                      62
                                                                               49



   1                      MR. MAGIDSON:     Judge?
   2                      THE COURT:    Mr. Magidson?
   3                      MR. MAGIDSON:     So to say this evidence is not
   4       going to be used against Mr. Shy is ludicrous.           The fact
   5       is it is, and so --
   6                      THE COURT:    How so, Mr. Magidson?
   7                      MR. MAGIDSON:     Well, okay.     So first of all,
   8       let's go to what we were talking about, this core group.
   9       What I would want to be asking Mr. Bailey, sir, are you
  10       referring to Mr. Shy?      Is he in the core group?          What
  11       makes him a core group just because you say so?
  12                 I'm going to be hammering him on those issues, and
  13       I'm going to be hammering him on the other issues about --
  14       he talks about -- he defines the Red Zone.          He talks about
  15       the real zone.     He defines the fact that 482O5 is not the
  16       Red Zone because that's a broader area.          He goes into very
  17       specifics.    He goes into much more detail defining this.
  18                 That's going to be used against Mr. Shy because
  19       it's alleged a RICO conspiracy, and this is proving those
  20       elements, and so if I can't attack the witness who's
  21       making these statements against my client, then we suffer
  22       prejudice, and that prejudice was recognized in Bruton,
  23       your Honor.    It talks about the introduction of evidence
  24       confession.    Whether you call it a confession or whether
  25       you call it whatever you call it, it's being used against


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1414 filed 05/09/19    PageID.18619   Page 50 of
                                      62
                                                                            50



   1       my client.    Otherwise, the government would not be
   2       introducing this.
   3                 What the Court in Bruton said this poses a
   4       substantial threat of the right to confront witnesses
   5       against him, and this is a hazard that we cannot ignore.
   6       Despite the concededly clear instructions to the jury to
   7       disregard evidence of inadmissible hearsay evidence
   8       inculpating petitioner in this context of a joint trial,
   9       we cannot accept limiting instructions as an adequate
  10       substitute for the petitioner's Constitutional Right of
  11       cross examination.      The affect is the same as if there had
  12       been no instruction at all.
  13                 So the government says, you know, we can give
  14       these cautionary instructions, but that -- once that bell
  15       rings, that bell keeps ringing, and the jury is going to
  16       hear this, and it's totally unfair.
  17                 Now the fact is that I can't cross examine an
  18       empty chair, and this is -- as counsel said, we're just
  19       going to have to sit there and take it, punch after punch
  20       without punching back.      That's unfair.
  21                      THE COURT:    All right.       Thank you, Mr.
  22       Magidson.
  23                 The Court basically tracks the argument on this
  24       question to come down to the ultimate issue of whether
  25       the -- whether there's a Bruton problem, because the


                       15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1414 filed 05/09/19   PageID.18620   Page 51 of
                                      62
                                                                           51



   1       testimony will inescapably result in the jurors
   2       identifying the co-defendants in this case as members of
   3       the SMB when the names aren't mentioned, when there's
   4       virtually nothing more than the argument, which I
   5       acknowledge have some force in this case made by the
   6       defendants that there are six of them sitting here who
   7       could be -- the jury could speculate were members of the
   8       SMB.
   9                 Well, indeed, as it relates to each of the
  10       defendants, there's going to be plenty of evidence
  11       introduce to address that issue, and nothing that from
  12       Mr. Bailey's testimony would lead inescapably to the
  13       conclusion that the other co-defendants were members, and
  14       that's the standards under Bruton.
  15                 There's not a Crawford issue for the same issues
  16       that were argued here, and there's not a Bruton issue.
  17       It's just as simple as that.
  18                 And as it relates to the late notice of the
  19       interview and the clips that are going to be used by the
  20       defendants in the interview, there's a lot that's gone on
  21       late in this case, not all attributable to the
  22       prosecution.     Indeed, the unexpected resignation of Mr.
  23       Graveline has led to a lot more in the way of scrambling
  24       on the part of plaintiff's counsel to be ready for this
  25       trial.    There were multiple reasons to consider delaying


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1414 filed 05/09/19   PageID.18621   Page 52 of
                                      62
                                                                           52



   1       the onset of the trial.      Understandably, the defendants in
   2       this case wanted to have their trial.         They did not want
   3       to have any delays that might have addressed questions
   4       like this along the way, but everybody committed to the
   5       process on both sides, and I don't find any wrongdoing on
   6       the part of plaintiff's counsel in the identification of
   7       this evidence, and the designation of it for presentation
   8       during the trial.
   9                 And as to limiting instructions, I don't -- the
  10       jurors were questioned at great length about their ability
  11       to follow the Court's instructions on the law, and that
  12       was the subject of a lot of the questioning by defense
  13       counsel as well as the Court, and I think the -- there's
  14       no reason to believe that a jury could not fairly judge
  15       the culpability on an individualized basis in this case,
  16       and there's nothing more than that is at stake here than
  17       the general reasons that the Court groups defendants
  18       together for trial, which has nothing to do, again, with
  19       the clips as the Court has read the transcripts of those
  20       clips in connection with those motion.
  21                 So the Court is going to deny the motion.
  22                      MR. H. SCHARG:     Judge, you know, Mr.
  23       Graveline's abrupt departure from the government team two
  24       weeks before trial should not be an excuse for the
  25       government, and they have no explanation as to why they


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1414 filed 05/09/19    PageID.18622   Page 53 of
                                      62
                                                                            53



   1       waited four years to disclose the fact that they were
   2       going to present this evidence at trial, knowing that this
   3       is a matter that should have been resolved prior to the
   4       commencement of this trial, and they have given no
   5       rational explanation as to what happened in the last two
   6       weeks which would cause them to make this monumental
   7       change in their strategy to bring this forth after the
   8       jury selection process.
   9                 Saying that, the other issue here is will the
  10       Court allow us -- me and my client to have access to that
  11       complete three hour video, because there is a possibility
  12       that there may be something favorable to me, that although
  13       I cannot question Mr. Bailey, I can question the agents
  14       who conducted the interview, and it is premature to
  15       resolve those issues, and it would have to be done at a
  16       later time.
  17                 But I think it is fundamentally unfair for the
  18       government to present these snippets, which is about eight
  19       minutes of a three hour interview, where a co-defendant is
  20       offering cooperation with the government, and that I don't
  21       have the opportunity to see that three hour tape.             The
  22       government has denied that request.           Mr. Bailey's
  23       attorneys, rightfully so though, have denied us that
  24       access.    So I have to rely on the Court to order the
  25       government to provide me with that interview.           I can't see


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1414 filed 05/09/19   PageID.18623   Page 54 of
                                      62
                                                                           54



   1       of any other alternative, and I believe at this time since
   2       that horse is out of the barn, we have a right to se the
   3       entire interview, and not rely on these snippets which
   4       don't put the exhibits in its proper context.
   5                      THE COURT:    Okay.    Thank you, Mr. Scharg.
   6                      MR. FEINBERG:     Judge, I have another issue
   7       that I would like to address the Court.
   8                      THE COURT:    On some other issue?
   9                      MR. FEINBERG:     A similar issue, your Honor.
  10                 This Court in its decision indicated that you
  11       would ask the defense attorneys and the defendants whether
  12       or not they wanted to prolong the trial -- the beginning
  13       of the trial as a result of the government's problem with
  14       Mr. Graveline retiring.      We all indicated no.
  15                 However, we, as defense attorneys, advising our
  16       clients to indicate we need additional time in order to
  17       review discovery that we don't know exists, meaning
  18       Mr. Bailey's statement.      Had we known, maybe when you
  19       asked the defense attorneys and the defendants whether or
  20       not they wanted to prolong the beginning of the trial, had
  21       we known the existence of the interview, and had an
  22       opportunity to review the entire interview, not just the
  23       snippets, maybe there would have been something different,
  24       but how were we suppose to constitutionally represent our
  25       clients in good faith, and say we want the trial to start


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1414 filed 05/09/19    PageID.18624   Page 55 of
                                      62
                                                                            55



   1       instantaneous when we don't know that something that is
   2       very, very crucial and potentially very, very harmful even
   3       existed.
   4                 So I ask the Court to reconsider its ruling based
   5       on the fact that the government didn't indicate, oh, by
   6       the way, your Honor.      We have some information that we are
   7       going provide after the jury is selected that may cause
   8       them some concern.
   9                      THE COURT:    All right.       Well, for the
  10       government Mr. Bilkovic?
  11                      MR. BILKOVIC:     Your Honor, just briefly.
  12       Mark Bilkovic for the United States.          I just want to
  13       respond to Mr. Scharg's request because that's something
  14       that I have been tasked with handling.
  15                 The Court has the entire interview.         I would ask
  16       that if the Court is going to consider Mr. Scharg's
  17       request, the Court review that interview in its entirety,
  18       and the Court make an in camera determination whether or
  19       not that interview needs to be turned over.
  20                 I don't see any possible way it would be
  21       admissible.    It's not being used against their clients.
  22       They can't bring in portions of it because it is not
  23       statements of their client.       It's' not -- it's basically
  24       an admission against Mr. Bailey which allows us to bring
  25       it in.    It doesn't allow them to bring it in.


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1414 filed 05/09/19    PageID.18625   Page 56 of
                                      62
                                                                            56



   1                 So I would ask the Court to consider watching the
   2       entire video, and then make a determination as to whether
   3       the Court feels the need to have us turn it over.
   4                 With respect to Mr. Feinberg, it's the same thing,
   5       Judge.    We're not arguing -- we're not admitting this
   6       against his client, and again, all of the defendants, they
   7       didn't have the clips, all of the defendants, all of their
   8       attorneys had the 3O2 on May 31st before we picked a jury.
   9       They had a witness list where one of the officers that
  10       took the interview was present on the witness list.             So
  11       even if we didn't have the clips, nothing would have
  12       stopped us from calling the witness that interviewed
  13       Mr. Bailey, and tendering portions of his statement to
  14       this jury, and the defendants were all aware of that prior
  15       to picking a jury.
  16                      THE COURT:    All right.       Well, I'm persuaded
  17       that the snippets will be allowed as evidence.            I'll look
  18       at the three and a half hours of video that represent the
  19       entire interview.     The balance has or has not been
  20       transcribed?
  21                      MR. BILKOVIC:     It has not, your Honor.
  22                      THE COURT:    And I'll look at it with an eye
  23       on what has been suggested as the value of the interview
  24       from the defendant's perspective, and I can rule -- I can
  25       set forth in an order the denial of the motion in limine,


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1414 filed 05/09/19    PageID.18626   Page 57 of
                                      62
                                                                            57



   1       and will go from there in terms of whether the plaintiffs
   2       will be required to disclose the entire three and a half
   3       hours.
   4                      MR. H. SCHARG:     How can I argue what I don't
   5       know?    How can they be allowed to cherrypick evidence and
   6       just provide to us what they want, what the government
   7       wants us to see?
   8                 If the Court will not release the three and a half
   9       hour video interview of Mr. Bailey, at least at a minimum
  10       I should have the opportunity to view that in its
  11       entirety; that is, if the Court wants to make that
  12       compromise, I have no objection to it if it doesn't want,
  13       for whatever reason, doesn't want to disseminate the
  14       entire interview, but at a minimum, I should be entitled
  15       to at least view it in the government's office, in the
  16       Court's chambers, but have the opportunity to see that
  17       interview in which parts of it are used as exhibits in
  18       this trial and have some consequences -- has some
  19       consequences against my client.
  20                      THE COURT:    All right.       I'll render an
  21       opinion again on that issue, not recognizing that it
  22       wasn't issue before I sat down here this morning.             So I'll
  23       take a look at the general argument, and decide whether
  24       the entire three and a half hours should be released.
  25                 Anything else that we need to address before


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1414 filed 05/09/19   PageID.18627    Page 58 of
                                      62
                                                                            58



   1       tomorrow?
   2                      MS. SMITH:    Not from the United States.
   3                      MR. FEINBERG:     The question that I have is
   4       will we know before opening statement whether -- whether
   5       or not the government will conduct an evidentiary hearing
   6       on the photo I.D., and whether that will be before we make
   7       our oral -- my opening statement so that I can know what
   8       evidence I can or cannot discuss with the jury?
   9                      THE COURT:    Yes, I think we should get an
  10       answer to that question.
  11                      MS. SMITH:    Well, your Honor, we've been here
  12       all morning.     So we have not had a chance to talk, but we
  13       don't intend to use that in opening statement, if that
  14       helps, but we'll expeditiously discuss what our options
  15       are at this point.
  16                      MR. FEINBERG:     I'm not concerned whether or
  17       not they are going to use it in their opening.           I'm
  18       concerned whether I can address it, pro or con.              I mean,
  19       if they're not going to agree to the evidentiary hearing
  20       and follow the Court's initial response that it was going
  21       to deny the testimony of the photo -- the identification
  22       of the photo lineup, that's one thing.          If, in fact, at
  23       some point in time they are going to say yes, we want to
  24       do the evidentiary hearing, that has to be done before I
  25       give my opening.


                       15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1414 filed 05/09/19    PageID.18628   Page 59 of
                                      62
                                                                            59



   1                      MS. SMITH:    Your Honor, if I may, it looks
   2       like we are going to request that evidentiary hearing.                So
   3       with that in mind, I don't know when the Court wants to
   4       hold it.
   5                      THE COURT:    Well, if your witnesses are
   6       available this afternoon --
   7                      MS. SMITH:    We're looking for one of the
   8       witnesses as we speak.
   9                 The agents I think are available.         I will call the
  10       Court when we find out the location of that witness.
  11                      THE COURT:    All right.       Let's tentatively
  12       plan to conduct that hearing this afternoon at --
  13                      MS. SMITH:    We can certainly start with the
  14       agents.    In the interest of time, we can start with the
  15       agents.    I don't know how long it's going to take to find
  16       the civilian witness, but it can't be -- well, I don't
  17       know.   If the Court wants to schedule it this afternoon,
  18       we have the agents ready.
  19                      THE COURT:    I will have to figure out whether
  20       I can do that this afternoon or not.          So we'll let you
  21       know before noon.     Do we have your cell phone?
  22                      MR. FEINBERG:     I will give you my cell phone
  23       number.
  24                      DEFENDANT BAILEY:      Excuse me.     May I say
  25       something?    Your Honor, Judge Steeh, y'all said it is not


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1414 filed 05/09/19    PageID.18629   Page 60 of
                                      62
                                                                            60



   1       crime to be a Seven Mile Blood, correct?           Clearly that's
   2       what we're being charged with, being a Seven Mile Blood.
   3       Okay.   I'm that.    So what?    I'm from the Red Zone.         So
   4       what?   That's not an enterprise.       So these snippets they
   5       using to charge again, saying enterprise because I'm the
   6       leader of the Seven Mile Bloods gang, that ain't got
   7       nothing to do with what's going on with these charges of
   8       RICO conspiracy.     First trial proved that it's not RICO
   9       conspiracy.    We ain't no enterprise.        They still want to
  10       insist that use the admissibility and bring me against my
  11       co-defendants, and I never even mentioned them because he
  12       not no Seven Mile Blood, he not no Seven Mile Blood, but
  13       at the same time, the jury is going take us to Seven Mile
  14       Bloods.    I'm okay being a Seven Mile Blood because that's
  15       not a crime, but still y'all still charging me with being
  16       Seven Mile Bloods.
  17                 No, you know I didn't kill Djuan Page.          The
  18       evidence shows that at trial in the first trial.              Still
  19       y'all trying to frame me and make me be guilty of killing
  20       Djuan Page.
  21                 This Court been bias the whole time period.           I got
  22       acquitted of a homicide in the state.          It's okay for them
  23       to bring that up, but it's not okay for the jury to know
  24       that I was acquitted, like come on.           My brother got
  25       acquitted of a fabricated RICO case, but it's not okay for


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1414 filed 05/09/19   PageID.18630   Page 61 of
                                      62
                                                                           61



   1       him to be on record to the jury that he was acquitted of
   2       it.   If one individual was acquitted of it, of conspiracy
   3       RICO, we all would have been acquitted of the RICO
   4       conspiracy, and you seen this.          They know this case.     It's
   5       not what it is.     If y'all want to pursue me in trial, come
   6       on.   I'm ready.
   7                      THE COURT:       Okay.   We'll continue.
   8
   9                          (Proceedings concluded.)
  10                                   -     -     -
  11
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1414 filed 05/09/19   PageID.18631   Page 62 of
                                      62
                                                                           62



   1                         C E R T I F I C A T I O N
   2                  I, Ronald A. DiBartolomeo, official court
   3       reporter for the United States District Court, Eastern
   4       District of Michigan, Southern Division, appointed
   5       pursuant to the provisions of Title 28, United States
   6       Code, Section 753, do hereby certify that the foregoing is
   7       a correct transcript of the proceedings in the
   8       above-entitled cause on the date hereinbefore set forth.
   9                  I do further certify that the foregoing
  10       transcript has been prepared by me or under my direction.
  11
  12     s/Ronald A. DiBartolomeo                           ___May 9, 2019_
         Ronald A. DiBartolomeo, CSR                             Date
  13     Official Court Reporter
  14                                  -    -   -
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25


                      15-20652; USA v. EUGENE FISHER, ET AL
